                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION
                               Civil Action No.: 5:17-cv- 00511-FL

                                                   )
EPIC GAMES, INC. and EPIC GAMES                    )
INTERNATIONAL S.a.r.l.,                            )
                                                   )
                 Plaintiffs,                       )
                                                         AFFIDAVIT OF CHRISTOPHER M.
                                                   )
                                                       THOMAS IN SUPPORT OF MOTION FOR
v.                                                 )
                                                              DEFAULT JUDGMENT
                                                   )
B.B.,                                              )
                                                   )
                 Defendant.                        )
_______________________________ )

        Christopher M. Thomas, appearing before the undersigned notary and having first been

duly sworn, states as follows:

        1.       I am over 18 years of age, suffer from no known disability, and have personal

knowledge of the facts set forth herein. All the statements in this affidavit are true and correct.

        2.       I am counsel for the Plaintiffs in the above-captioned case.

        3.       Under to Local Civil Rule 55.1(b)(1), Epic's Motion for Default Judgment, filed

contemporaneously herewith, is required to "be supported by an affidavit stating that each party

against which judgment is sought is not an infant, an incompetent person, or in the military

service of the United States as defined in the Servicemembers Civil Relief Act of 2003, as

amended." See id.

        4.       In this case, the party against which judgment is sought, Defendant B.B., is

believed to be a minor. Consequently, in accordance with Fed. R. Civ. P. 55(b)(2), Fed. R. Civ.

P. 17(c), and Local Civil Rule 17.1(a), Epic has filed, contemporaneously herewith, a.motion

requesting that the Court appoint a guardian ad litem to represent the interests ofB.B.



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        5.       Because Fed. R. Civ. P. 55(b)(2) provides in relevant part, that a default judgment

may be entered by the court against a minor if the minor is represented by a general guardian,

conservator, or other like fiduciary who has appeared, Plaintiff's Motion for Default Judgment

should be found to comply with Fed. R. Civ. P. 55 and Local Civil Rule 55.1(b)(l) upon the

appointment of a guardian ad litem.

        This the 13th day of June, 2018.


                                              Christopher M. Thomas
                                              N.C. State BarNo. 31834
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                                              Tasneem A. Dharamsi
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                                              Facsimile: (919) 834-4564

                                              Attorneys for Plaintiffs
                                              Epic Games, Inc. and Epic
                                                                      a.
                                              Games International S. r.l.




SWORN TO and subscribed before me

this the 2..-\'l"day of June, 2018.




   M KATHRYN THOMPSON
         NOTARY PUBLIC
     WAKE COUNTY, N.C.
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                                 CERTIFICATE OF SERVICE


        This is to certify that a copy of the foregoing AFFIDAVIT OF CHRISTOPHER M.

THOMAS IN SUPPORT OF MOTION FOR DEFAULT JUDGMENT was electronically

filed this day with the Clerk of Court using the CM/ECF system and is available to B.B. c/o

Christine Broom via PACER. Copies will be served on both B.B. and Christine Broom as soon

as we are properly able to serve them, at which point undersigned counsel will file an amended

certificate of service.



        This the 13th day of June, 2018.

                                           Is/ Christopher M. Thomas
                                           Christopher M. Thomas
                                           N.C. State BarNo. 31834
                                           christhomas@parkerpoe.com
                                           Tasneem A. Dharamsi
                                           N.C. State Bar No. 47697
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